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COALITION FOR ICANN TRANSPARENCY INC.

IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF CALIFORNIA
SAN JOSE DIVISION

COALITION FOR ICANN
TRANSPARENCY INC., a Delaware
Corporation,

Plaintiff,
Vv.

VERISIGN, INC., a Delaware
Corporation,

Defendant.

Case No. 05-4826 (RMW) PVT

PLAINTIFF’S MEMORANDUM OF
POINTS AND AUTHORITIES IN
OPPOSITION TO DEFENDANT'S
MOTION TO DISMISS CFIT’S SECOND

AMENDED COMPLAINT
DATE: March 9, 2007
TIME: 9:00 A.M.

Courtroom: 6

Honorable Ronald M. Whyte

CFIT’S OPPOSITION TO VERISIGN’S MOTION TO DISMISS SECOND AMENDED COMPLAINT

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I. INTRODUCTION AND OVERVIEW

The present motion to dismiss follows a substantial revision of the Plaintiff's allegations,
as set forth in its Second Amended Complaint (“SAC”). As detailed in this Opposition, the
Coalition for ICANN Transparency’s (“CFIT’s”) new and revised allegations, in its 386
numbered paragraphs, take account of the Court’s prior rulings and cure the described
deficiencies. A red-lined version of the SAC, highlighting the differences between the First
Amended Complaint (“FAC”) and the SAC is attached to this Opposition as Exhibit “A.”

For its part, however, Defendant Verisign, Inc. (“Verisign”) fails to acknowledge the new
allegations and, hoping to find a way into the Court’s prior rulings, pitches its arguments at the
outdated complaint. Verisign also seeks to hold CFIT to a significantly higher standard of
pleading than warranted under Rule 12 jurisprudence. As argued by Verisign, the present motion
attacks the factual predicates on which the causes of action are based and the sufficiency of those
facts to warrant judgment in favor of CFIT. Verisign’s arguments ignore the procedural posture of
the case and ask the Court to make inferences not warranted on the basis of the pleadings.

Verisign’s motion to dismiss should be denied. The reasons are apparent in the new and
revised SAC, and in this Opposition, CFIT will highlight the new allegations that frame the story

that CFIT should be allowed to tell and prove at trial.

I. ARGUMENT
A. All Factual Allegations In The Complaint Must Be Accepted As True

The conditions that must be met before a motion may be granted under Federal of Civil
Procedure 12(b)(6) are quite strict. “[A] complaint should not be dismissed for failure to state a
claim unless it appears beyond doubt that the plaintiff can prove no set of facts in support of his

claim which would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957).

In applying this standard, the court must treat all of the allegations in the complaint as

true. Jd.; see also Klarfeld v. United States, 944 F.2d 583, 585 (9th Cir. 1990) (holding that

district court erred in granting motion to dismiss because whether plaintiff's fourth amendment

rights were violated by the requirement that he walk several yards over a dirty floor was a

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question of fact); Chandler v. McMinnville School Dist., 978 F.2d 524, 527 (9th Cir. 1992)

(district court erred in granting motion to dismiss tn freedom of expression case where factual
questions existed on what conduct at school could be deemed “inherently disruptive”);

Experimental Engineering, Inc. vy. United Technologies Corp., 614 F.2d 1244 (9th Cir. 1980)

(district court erred in dismissing complaint when it could not be said that it appears beyond

doubt that appellant could prove no set of facts in support of his claim); Shapley v. Wolff, 568

F.2d 1310 (9th Cir. 1978) (holding that district court erred in dismissing complaint because it
could not be said that it appears beyond doubt that appellant could prove no set facts in support of

his claim); First Am. Title Ins. Co. v. Provident Savings Bank, 848 F.2d 969 (9th Cir. 1988)

(holding that district court erred in granting motion to dismiss in lien case claim because appellant
might have proven that it perfected its bank lien before government recorded its tax lien); Church

of Scientology of California v. Flynn, 744 F.2d 694 (9th Cir. 1984) (holding that district court

erred in granting motion to dismiss in defamation because whether statement was an “opinion”
was a question of fact).

As the following sections make clear, CFIT has alleged sufficient facts to state its claims.
Reviewing the well-pleaded facts described below against the arguments made by Verisign in its
motion to dismiss reveals that Verisign asks this Court to make unwarranted factual
determinations, interpret complex contractual provisions without the benefit of history or
extrinsic evidence, and ignore conduct that, as pleaded in the SAC, would injure consumers and
rival businesses, including Plaintiff's members here. —

iB. New and Corrected Allegations Address the Court’s Concerns

The Court’s December 8, 2006 decision to dismiss the FAC, and allow CFIT leave to
amend and file the SAC, was based on the conclusion that CFIT had failed to plead sufficient
allegations to assert antitrust standing. See, Dec. 8, 2006 Opinion, at pp. 10-20. The Court
specifically reviewed whether CFIT had alleged adequate antitrust injury in the “Expiring Names
Registration Services Market” and the “Domain Name Registration Market.” In its additions and
revisions in the SAC, CFIT not only took care to address the perceived deficiencies in the FAC

but also added allegations that clarify the legal theories on which CFIT bases its causes of action.

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1. The Expiring Names Registration Services Market

CFIT believes and alleges that the markets for previously registered domain names and
currently unregistered domain names are distinct. Because of the different attributes of domain
names in each of the separate markets, domain names in the unregistered domain names market
are not reasonably interchangeable with domain names in the expiring names registration market.
The new and revised allegations are primarily in three sections of the SAC: “Competition In
Registration Of Expiring Names” (9109-130); “The Nature And Value Of Expiring Domain
Names” (9131-154); and “Harm Suffered By The Plaintiff And Its Members” (9311-318). They
will be discussed in turn here.

a. Negative Effects on Competition

As additional factual background for these new allegations, CFIT added a new section of
the SAC that describes what is known in ICANN circles as “The Registry-Registrar Split” ({{47-
52). The Registry-Registrar Split and its history are important because the “split” was designed to
keep new services and innovation at the registrar-level of services, where competition flourishes,
rather than at the single-source registry-level of services. The “split” was created by contract
between ICANN and Verisign on or about November 10, 1999 in order to bring competition to
the registration of domain names. SAC, 948. Verisign, by and through its predecessor in interest,
Network Solutions, Inc. (“NSI°), was required to agree to the registry-registrar split by the United
States government, under threat of antitrust prosecution and possible loss of its contract for
services with the United States. SAC, 50. At the same time, NSI agreed to recognize ICANN.
SAC, 7186. Through these negotiations with ICANN and parallel negotiations with the United
States, NSI agreed to split it business into a registrar business and a registry business, which it
would maintain separately. NS] agreed to face competition at the registrar level, while
maintaining its single position as the sole registry. SAC, $187.

Since 1999, the registry-registrar split has been the key to maintaining competition in the
registration for domain names and the provisioning of related domain name services. SAC, §51.
In effect, the registry-registrar split allows the “Registry” to act as a neutral services platform,

while “Registrars” compete for customers on price and differentiation of services. SAC, 452.

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The effectiveness of the split is nowhere more evident than in the expiring names
registration market. Back-order service providers, acting at the registrar-level, compete on the
basis of price and on quality of service to obtain customers who are seeking recently-expired
domain names. Under this model, price competition has been fierce. SAC, 7114. Because this
competitive marketplace for obtaining expired domain names exists at the registrar level, market
participants are able to compete on differentiated services and prices. SAC, 4117.

New allegations in the SAC describe these various ways that registrars, acting as back-
order service providers, differentiate their services te consumers. Some back order service
providers offer customers the opportunity to purchase an expiring name for a flat fee. This flat
fee is affordable for most domain name registrants. SAC, 4119. For some flat fee back order
service providers, customers are awarded a domain name based on the principle of “first come,
first served,” whereby the first customer to request the expiring domain name becomes the only
registrar customer eligible to receive it. For other flat fee back order service providers, customers
are given the opportunity to register an expiring domain name based on random selection. SAC,
4120.

Some back order service providers offer customers the ability to purchase chances to win
an expiring domain name, SAC, 41121. Some back order service providers offer customers the
ability to subscribe to an expiring domain name, so that if the domain name becomes available
during the time-limited period of the subscription, it is registered to the subscribing customer.
SAC, 7122.

Some back order service providers offer customers the opportunity to purchase an
expiring name at an auction price. SAC, §123. Some back order service providers offer customers
the opportunity to participate in membership clubs, which for a monthly subscription fee, domain
name registrants can attempt to register expiring domain names as they become available. SAC,
q124. Some back order service providers partner together to aggregate their connections to
Verisign’s registry computers in order to increase the odds that their customers will obtain an

expiring domain name. SAC, 4125.

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The market place for expiring demain names is rich and varied. New allegations in the
SAC also describe why this competitive marketplace serves consumers, by driving down prices
(through, among other things, the differentiated pricing models discussed above) and increasing
the level of services. SAC, 127. Because of the benefits of competition, domain name registrants
currently can purchase expiring domain names at prices below what those prices would fetch at
auction (the sole availability model available when Verisign moves this service to the registry
level), SAC, 4128.

b. The Nature And Value Of Expiring Domain Names

The expiring names market is distinct from the market for new registrations. Even
Verisign understands this to be true. SAC, 4143. The nature of the two markets, how they differ,
and the reasons why one is not a substitute for the other are detailed in the SAC. Verisign
describes these new allegations as mere “tinkering.” They are not.

Expired domain names become available for a variety of reasons. For example, as domain
name registrations age, the likelihood that a registrant dies or becomes uninterested in
maintaining an Internet presence increases. Over time, every individual who has registered a
domain name will die. Those domain names eventually will fall into the market for expiring
domain names. SAC, 4132. For commercial registrations, most businesses started in the United
States, and elsewhere, fail within a few years from the time they are created. Commercial
registrations from failed businesses are not renewed and eventually will fall into the market for
expiring domain names. SAC, 4133. For those businesses that do not fail, many of them will
merge into other businesses or change their names over time. Oftentimes, the original domain
name of the merged or changed company will not be renewed and eventually will fall into the
market for expiring domain names. SAC, 4134.

Many commercial registrations center on specific product lines or promotions.
Oftentimes, these products or promotions have a limited lifetime, and the domain name registrant
may decide not to renew the domain name once the immediate need for it has passed. Such
domain names eventually will fall into the market for expiring domain names. SAC, 9135. Both

individuals and corporations commonly register domain names for time-specific events, such as

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meetings, conferences, concerts, picnics, etc. Once the event has passed, the registrant may decide
not to renew the domain name. Such domain names eventually will fall into the market for
expiring domain names. SAC, 7136.

Expiring domain names have more value than newly registered domain names in part
because they have been advertised by the previous registrant and/or because websites associated
with the domain name have been indexed by search engines. SAC, 9137. This means that expiring
domain names typically have visitors to, links to, and traffic to the web sites and other Internet
services associated with the domain name. Such Internet traffic makes it easier for a new domain
name registrant to monetize the domain name registration by associating advertisements or other
services with the domain name. SAC, 9138.

Expiring domain names also often have more value than newly registered domain names
because they were registered at a time when good, short domain names were less scarce. SAC,
#139. For example, every dictionary word in English was registered many years in the past.
Currently, the only way to register a common dictionary word in the .COM TLD is to buy it
directly from its current registrant or acquire the domain registration in the expiring domains
market. SAC, 7140.

Expiring domain names command a premium price, far in excess of the average cost of a
new domain name registration. SAC, 7141. The average cost of an expiring domain name is
multiples in excess of the average cost of a new domain name registration. SAC, 9142.

c. Predatory Conduct by Verisign

The SAC also details the ways in which Verisign has used its superior. resources and
market power unlawfully to damage competition, injure consumers, and give itself an unfair
advantage in various markets. Through a pattern of both strong-arm conduct and deceptive acts
and practices, Verisign has undermined ICANN’s legal authority and financial stability (SAC, 96)
and used this conduct to command unreasonable and unlawful terms in the contracts now at issue.

Since ICANN was founded in November, 1998, Verisign (both by itself and by and
through its predecessor NSIJ) has been relentless in its assault on ICANN’s legitimacy and

credibility, SAC, §272. Verisign (both by itself and by and through its predecessor NSI) has,

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among other things: (a) lobbied against ICANN’s authority in Washington, D.C. and in the
European Union: (b) attempted to control policy debates within ICANN by hiring people to
advocate its positions under the guise that they were independent of Verisign/NSI; (c) paid
bloggers to attack ICANN under false names and under the guise that they were independent of
Verisign/NSI; (d) planted news stories critical of ICANN with mainstream and online media; and
(e) contributed to various “think tanks” and non-profit organizations to enable those organizations
to criticize and undermine ICANN. SAC, §273. Verisign (both by itself and by and through its
predecessor NSJ) has threatened to withhold funding from ICANN, jeopardizing the non-profit
corporation’s stability and existence. SAC, 4274.

The assault on ICANN by Verisign (both by itself and by and through its predecessor
NSD has designed to, and had had the effect of, coercing and/or convincing ICANN to agree to
the conspiracy alleged in the Complaint. SAC, 9273. In fact, Verisign’s continuous attacks on
ICANN have been so successful that ICANN found it necessary to seek a specific provision in the
new agreements expressly requiring Verisign to cease the attacks on ICANN’s credibility and
legitimacy. SAC, 4274.

Most recently, in order to consolidate its monopoly power over the .COM and NET
markets, Verisign filed a spurious legal action against ICANN which taxed ICANN’s financial
and personnel resources, placed its Directors and advisors i personal financial jeopardy, and
threatened the legal underpinnings on which ICANN has based. SAC, ¥7. Using the unequal
financial resources between it and ICANN, Verisign’s litigation coerced ICANN into signing
these new anti-competitive agreements for .COM and .NET that provide Verisign the ability to
exact monopoly prices from consumers and capture downstream and adjacent markets from rival
commercial players, including CFIT’s member companies. SAC, 48, 269.

d. Harm Caused by Verisign

Prior to February, 2006, Verisign was not a provider of services to end-users in the
expiring domain names market. SAC, 9144. Prior to February, 2006, Verisign did not earn any
fee or commission on the registration of expiring domain names above the annual fee for new

registrations. SAC, 7145.

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By using its superior financial resources through the conduct described in the previous
section, Verisign coerced ICANN into signing an agreement that did away with the registry-
registrar split on the provisioning of new services and allowed Verisign to take steps to destroy
the market for expiring domain names and, using the registrars as resellers of Verisign’s single
undifferentiated service, become the sole provider of services to end-users for the registration of
expiring domain names. SAC, 9146.

By its actions, Verisign will replace the currently competitive back order service
providers, offering differentiated services and varying competitive pricing models, with a uniform
Verisign-mandated service. SAC, %147. Such actions completely dissolve the registry-registrar
split. Verisign will receive a fee or commission on the registration of every expiring domain
name above and in addition to the annual fee it receives for new registrations. SAC, 4148. The
actions taken by Verisign will increase the average cost of expiring domain names for consumers.
SAC, 4149. The actions taken by Verisign will place the cost of valuable expiring domain names
beyond the reach of the average domain name registrant. SAC, 4150. A significant percentage of
the participants in the market for expiring domain names will be priced out of the market for such
names completely. SAC, 151.

The actions taken by Verisign will put the back order service providers out of business.
SAC, 4152. The actions taken by Verisign will impair the business relationships that back order
service providers have with their customers, who have come to rely on these providers for a suite
of back ordering services. SAC, 9153. By its actions, Verisign will leverage its control of the
.COM registry and the permissions granted it by ICANN in the new 2006 .COM Registry
Agreement to insert itself as the sole provider in a currently competitive market in which it does
not currently participate, extracting fees which it does not currently receive for services that are
less beneficial to consumers. SAC, 9154.

Domain name registrants, including those members of the Plaintiff, will be harmed by the
loss of competitive services for expiring domain names, which will displace some registrants,
including members and supporters of CFIT, from the market for such services entirely and exact

new and unnecessary costs from those who can afford to remain in the market. SAC, 313.

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Domain name registrar and back order service providers, including those members of the
Plaintiff, will be harmed by (a) the displacement of the services they now offer to consumers at
the registrar level by the services that Verisign will mandate from the registry level, which will
drive such registrars and back order providers from the markets they now serve; (b) the attendant
impairment of customer relationships based on the loss of the ability to provide services
demanded by their customers; (c) the loss of revenue from the displaced services, which will be in
the hundreds of millions of dollars over the course of the current .COM and .NET Registry
Agreements. SAC, 9317.
2. Domain Names Registration Market

CFIT believes and alleges that the Verisign has misused its market power and superior
financial resources to coerce ICANN into signing new agreements that permit Verisign fo exact
unlawful and anticompetitive fees from captive market participants. The new and revised
allegations describing Verisign’s price gouging of .COM and .NET consumers are primarily in
the following sections of the SAC: “Competition for the TLD Registry Agreements” (4958, 64-
71, 73); “Elimination of Competitive Bidding” (7223-233, 236, 238-246); “Monopoly
Leveraging” (9249-253); and “Harm Suffered By The Plaintiff And Its Members” (93 11-318)..
They will be discussed in turn here.

a. Competition for TLD Registries and the Elimination of
Competitive Bidding

In its Motion to Dismiss, Verisign effectively asks this Court to interpret four contracts
(the 2001 .COM and .NET Registry Agreements, the 2005 .NET Agreement, and the 2006 .COM
Agreement) based purely on their written terms — without reference to their history, the parties’
custom and practice, or other extrinsic evidence — and make a determination that (a) the newer set
of contracts make no change in the competitive landscape; and (b) any more favorable terms in
the newer set of contracts were the result of negotiation, not Verisign’s predatory and unlawful
conduct. This is not a conclusion that can be drawn either from the facts or at this stage of the

litigation.

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As described more fully in the SAC, one of the ways ICANN has sought to obtain the
benefits of competition has been by putting TLD registry agreements out for bid, and by selecting
a registry operator on the basis of the benefits to consumers in price and quality of service
presented by each prospective registry operator. SAC, 958. To date, periodic bidding for the TLD
registry agreements has yielded substantial benefits for consumers. SAC, 959.

Because there can be only one registry operator at a time for each TLD registry, no
competition among prospective registry operators exists during the term of each registry
agreement. The only time competition among prospective registry operators exists is at the end
of a registry agreement, when the next registry operator must be selected. SAC, 461. A central
competitive constraint on a TLD registry operator is the meaningful prospect that the operator
will lose the registry in the next round of bidding on the basis of overcharging or poor
performance during the current contract term. SAC, (62.

The threat of future competitive bidding not only constrains the TLD operator at the
moment when it bids, but also during its operation of the registry. SAC, 963. A failure to act
reasonably and provide service on competitive terms and conditions throughout the contract term
poses a potential for the current operator to lose in future bidding competition for the TLD
registry agreement. SAC, 964.

Although current technology favors having a single registry for a given TLD, the
assignment of a contract to operate a TLD does not create a natural monopoly. SAC, 965. A
registry operator that operates a TLD registry for a fixed period of time, knowing that the registry
contract will be placed into a competitive bidding situation at the end of the fixed term, faces
competition from its potential successors. SAC, 66. This competitive bidding, between
incumbent operator and prospective successor operators, benefits consumers by keeping prices in
check, by ensuring that the registry operator invests in sufficient infrastructure and staff to

maintain a stable and secure registry, by maintaining solid and reliable performance of the

-Tegistry, and by preventing the registry from undertaking abusive practices that would financially

benefit the registry at the expense of the end-user’s experience. SAC, 67.

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Until June 2005, Verisign had operated both the .NET and the .COM registries under the
competitive threat of future competitive bidding. SAC, 68. When ICANN awarded the contract
for the .NET registry to Verisign in July 2005, however, ICANN and Verisign eliminated all
realistic prospects that Verisign would face competitive bidding for that registry in the future.
SAC, 969. Upon the award of the new .NET contract to Verisign in July, 2005, Verisign moved
into a monopoly position with regard to .NET, insulated from any realistic competition from a
successor registry for NET. SAC, 70.

The new 2005 .NET Agreement included a renewal provision that allowed ICANN to
solicit competitive bids for the NET registry only if a court or arbitrator issued a non-appealable
final order finding Verisign to be in breach of the agreement. Even then, Verisign would not lose
the registry contract if it cured the breach. SAC, 4/71. Likewise, the proposed 2006 .COM
Agreement challenged in this action includes an identical provision, thereby eliminating all
realistic prospect that Verisign will face competitive bidding for the .COM registry in the future.
SAC, 972.

Verisign was able to extract these materially different terms from as a result of the
financial and litigation pressure applied by Verisign’s vastly superior financial resources. SAC,
4223. The terms of the new agreements were not the same as those in the older ones. Although
the 2006 .COM Registry Agreement gives ICANN the titular ability to rebid the registry
agreement if Verisign is in breach, the provision is illusory. SAC, 224. The rebid provision only
applies if Verisign has been adjudged in material breach of the agreement by a final, non-
appealable judgment and Verisign has not cured the defect. This is an event that never will be
triggered. SAC, 9225. At the time they negotiated the rebid provision of the 2006 .COM Regisiry
Agreement, and at the time they executed the Agreement, both ICANN and Verisign understood
that it never would be triggered. SAC, 7226, At the time they negotiated the rebid provision of the
2006 .COM Registry Agreement, and at the time they executed the Agreement, both ICANN and
Verisign understood that the rebid provision was illusory. SAC, 4227. By contrast, the rebid

provisions of the previous agreement, which allowed a rebid for breach or because of a proposal

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to price .COM domain names higher than $6.00 per year, already would have been triggered had
that provision remained in effect. SAC, 4228.
b. Unlawful Prices and Harm to Consumers and Plaintiff

The unlawful actions described in the SAC increase significantly the prices that Verisign
will charge for .COM and .NET domain name registrations. By eliminating periodic rivalry to run
the registry, Verisign will be unconstrained in setting prices and will charge the maximum cap
allowed by the terms of the conspiracy. SAC, §230.

The 2006 .COM Registry Agreement affects prices by not only redrafting the previous
provisions for maximum price, but also redefining which terms are included in the maximum
price, SAC, 9231. In the 2006 .COM Registry Agreement Verisign and ICANN effectively fix the
price for .COM domain name registration at $6 through December 31, 2006, and further conspire
to permit Verisign to permanently raise the price of .COM registration 7% for four out of the next
six years. This price exceeds the historical rate of inflation and is greater than what a fair market
would otherwise bear. SAC, 4232.

If .COM had been put out for a competitive bid, the costs of domain name registrations
would have fallen to at least as low as $3.00 per domain name, with at least the same’ level and
quality of services provided by Verisign. SAC, 9233. Under the terms of the 2006 .COM Registry
Agreement, the increase in the registry-level transaction fee is an automatic process. The
Agreement makes no provision for registrars and Internet stakeholders to provide any input into
the process. SAC, 4234.

Verisign and ICANN each believe that Verisign could raise prices to the maximum
permitted by the caps under .COM and to any price whatsoever under .NET without running afoul
of the antitrust laws. SAC, 9236.

In addition, pursuant to the conspiracy, the 2005 .NET Agreement provides for higher
prices in the future for new or renewal domain name registrations in the NET TLD. Until
December 31, 2006, the maximum price is set at $4.25, which includes a $0.75 Registry-Level
Transaction Fee that is paid to ICANN by the registrars. Beginning in 2007, the price controls set

forth in the 2005 .NET Registry Agreement will be eliminated. Without the constraint of

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competitive bidding, Verisign will be free to impose, and will impose, monopoly pricing on .NET
domain name registrations. SAC, 4237

Verisign has stated its intention to raise prices under the 2006 .COM and 2005 .NET
Agreements (SAC, 9238), and Verisign will raise its prices under the .COM and .NET
Agreements. SAC, 4239. Verisign’s stock has risen on the widespread expectation by financial
analysts that Verisign will raise its prices under the .COM and .NET Agreements. SAC, 4240.

The price increases, as described in the previous paragraphs, will be above the prices that
Verisign could charge if the .COM and .NET registry contracts were subject to a competitive
bidding process. SAC, {241. Under a competitive model for registry bidding, prices would have
fallen, to at least as low as $3.00 per name for similar levels and quality of service. SAC, 243.
The sale of new .COM registrations is highly competitive, with a number of high volume, low
margin businesses pricing their domains just above or even at the price charged by the registry.
SAC, 9244. Lower .COM prices at the registry level would have been passed on to consumers by
these high volume, low margin registrars. SAC, 9245.

Domain name registrants, including those members of the Plaintiff, will be harmed by the
actions and conspiracy detailed in this Complaint by, among other things, the unlawful increase in
prices which Verisign will exact from registrants in the .COM TLD, which will damage
Plaintiff's members by hundreds of thousands of dollars each year and extract hundreds of
millions of dollars from all .COM registrants over the course of the 2006 .COM Registry
Agreement’s existence. SAC, 9313.

Cc, SAC Resolves Issues Raised in December 8, 2006 Opinion

CFIT’s SAC cures the deficiencies raised by the Court in its December 8, 2006 opinion. In
many instances, CFIT has added new allegations to directly address the Court’s concerns. In other
instances, however, CFIT has recast the allegations to clarify the legal theories it makes and the
factual predicates for those theories. The key issues raised by the Court are discussed here.

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1, Interchangeability of Registration Types
In its December 8, 2006 ruling, this Court stated that CFIT had failed to allege facts
“tending to show that registered and unregistered domain names are not reasonably
interchangeable.” Dec. 8, 2006 Opinion, at 12. It added that CFIT’s allegations:
do not indicate that domain names are not reasonably interchangeable by
virtue of their ‘expired’ status or otherwise raise an inference that the
alleged expiring domain names registration services market is a separate
relevant market. At most, these allegations suggest that some expired
domain names may be in greater demand than others such that a registrant
might be willing to pay an additional fee in order to increase its chances of
procuring that domain name.
Id.,at 13. The SAC addresses this concern head on. The new and revised allegations
(specifically, SAC, at 4131-154) make clear that expiring registrations are inherently different
fromm new registrations. Among other things, expiring registration have established Internet traffic
and history (SAC, 4137-138), which a new registration can never have. The fact that expiring
names have value in excess of new registrations is a consequence of the described differences, not
the difference itself.
2. Contractual Differences
One of the key areas of dispute between CFIT and Verisign is over whether the
differences between the 2001 .COM and .NET Agreements and the new agreements at issue are
meaningful. CFIT has alleged that the changed terms are substantial and, in both their language
and as they will be applied, give Verisign new power to extract unlawful monopoly rents from
domain name registrants,
In its December 8, 2006 Opinion, the Court devoted substantial attention to the language
of the contracts, how they varied, and what new added rights, if any, Verisign would have as a
result of the changes. See, Dec. 8, 2006 Opinion, at 15-18. The Court apparently concluded that
CFIT complained of a “mere extension of Verisign’s lawful appointment as the sole registry

operator." Id., at 16. This is not the case.

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As described in the SAC, Verisign used predatory and fraudulent conduct (‘[[273-274) to
coerce ICANN into an agreement that fundamentally changed the competitive landscape. Among
other things, the new contract broke down the historic wall between registry services and registrar
services and it gave Verisign freedom to raise prices undeterred by competition from a successor
registry. The contracts at issue are simply not susceptible to a single interpretation, at the
pleading stage, that they are materially the same vis-a-vis their effects on competition.

3. Predatory Conduct and Supra-Competitive Prices

One aspect of the factual history that CFIT has attempted to highlight in the SAC is that

Verisign achieved its new contractual freedom by predatory and fraudulent conduct designed to

coerce its putative regulator, ICANN, into agreeing to the unlawful provisions of the agreements

_ at issue, SAC, at {4 273-274. Moreover, CFIT has alleged, and can prove, that a competitive

bidding environment, such as what existed under the 2001 versions of the .COM and .NET
agreements, would have resulted in a price reduction to at least as low as $3.00 per name, half of
what Verisign now charges and an even lower percentage over what Verisign will charge when it
implements its planned price increases. SAC, 9241-245. The delta between $3.00, which would
be established in a competitive market, and what Verisign now charges and will charge in the
future is the measure of the supra-competitive prices that the Court found lacking in the prior
Complaint. Verisign calls these allegations “speculative,” but CFIT can and will prove its
allegation that at least half of the revenue Verisign derives from operation of the .COM registry is

supra-competitive. It should be allowed this opportunity at trial.

HI. CONCLUSION

In this Opposition, CFIT has chosen to highlight the new and revised well-pleaded facts
that address the Court's December 8, 2006 opinion. The SAC tells the story of Verisign's
predatory conduct, its attempts to coerce its regulator into agreement to unlawful operational
terms, and the effects that these actions will have on registrars, acting as back-order services
providers, and registrants. CFIT's member companies encompass both categories (also as

clarified in new and revised allegations). This is a story that warrants more complete

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development through discovery and ultimately that should be placed before a trier of fact at trial.

For these reasons, Verisign's motion should be denied.

Respectfully submitted,

Dated: February 16, 2007 CATHCART COLLINS & KNEAFSEY LLP

By:

Bret A. Fausett

Attorneys for Plaintiff
COALITION FOR ICANN TRANSPARENCY INC.

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:

1 am employed in the aforesaid county, State of California; [ am over the age of 18 years
and not a party to the within action; my business address is 444 8. Flower Street, 42"" Floor, Los
Angeles, California 90071.

On February 16, 2007, I served the foregoing: PLAINTIFIF?S MEMORANDUM OF
POINTS AND AUTHORITIES EN OPPOSITION TO DEFENDANT’S MOTION TO
DISMISS CFIT’S SECOND AMENDED COMPLAINT on the interested parties in this action
by placing a true copy thereof, enclosed in a sealed envelope, addressed as follows:

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[x] (FEDERAL) | declare under penalty of perjury that the foregoing is true and correct, and

that [ am employed in the office of a member of the bar of this Court at whose direction the
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Executed on February 16, 2007, in Los Angeles, California.

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Liliana R. Hernandez

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